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FILED

JUL 17 2020
IN THE UNITED STATES DISTRICT COURT Clerk, US District Court
FOR THE DISTRICT OF MONTANA iene
BILLINGS DIVISION

UNITED STATES OF AMERICA,

CR 18-161-BLG-SPW
Plaintiff,

Vs. ORDER

DUSTIN NEAL SAKSA,

 

Defendant.
Due to the Court being advised of counsel’s exposure to COVID-19,
IT IS HEREBY ORDERED that sentencing currently scheduled for Friday,
July 17, 2020 at 9:30 a.m., is VACATED and reset to commence on Thursday,

August 20, 2020 at 1:30 p.m. in the James F. Battin U.S. Courthouse, Billings,

Montana.

The Clerk shall forthwith notify the parties of the making of this Order.
Sf
DATED this 7 Zday of July, 2020.

_ 4) Leave
P, WATTERS
U.S. DISTRICT JUDGE
